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    7                     UNITED STATES DISTRICT COURT
    8                   CENTRAL DISTRICT OF CALIFORNIA
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   10 SECURITIES AND EXCHANGE                CV 19−2188 DSF (MRWx)
      COMMISSION,
   11                                        ORDER GRANTING MOTION OF
                  Plaintiff,                 RECEIVER FOR: (A) APPROVAL
   12                                        AND PAYMENT OF FEES AND
                  v.                         EXPENSES FOR JANUARY 1, 2022
   13                                        THROUGH MARCH 31, 2022 OF:
      DIRECT LENDING INVESTMENTS                  (1) RECEIVER BRADLEY D.
   14 LLC,                                        SHARP;
                                                  (2) RAINES FELDMAN LLP;
   15               Defendant.                    (3) DIAMOND MCCARTHY LLP;
                                                  (4) DEVELOPMENT
   16                                             SPECIALISTS, INC.;
                                                  (5) GOLDBERG KOHN LTD.;
   17                                             (6) BERKELEY RESEARCH
                                                  GROUP;
   18                                             (7) BANKRUPTCY
                                                  MANAGEMENT SOLUTIONS
   19                                             DBA STRETTO
                                                  (8) JEFFER MANGELS BUTLER
   20                                             & MITCHELL; AND
                                             (B) FOR APPROVAL OF RATE
   21                                        INCREASES; AND
                                             (C) FOR APPROVAL OF FORM
   22                                        AND/OR LIMITATION OF NOTICE
                                             UNDER LOCAL CIVIL RULE 66-7
   23                                        (Dkt. 781)
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    1        The Court having reviewed and considered the unopposed Motion of Receiver
    2 for: (A) Approval and Payment of Fees and Expenses from January 1, 2022 through
    3 March 31, 2022 of Bradley D. Sharp; Development Specialists, Inc.; Raines Feldman
    4 LLP; Diamond McCarthy LLP; Goldberg Kohn Ltd.; Berkeley Research Group;
    5 Bankruptcy Management Solutions dba Stretto; Jeffer Mangels Butler & Mitchell;
    6 and (B) Approval of Rate Increases; and (C) Approval of Form and/or Limitation of
    7 Notice Under Local Civil Rule 66-7 and all supporting pleadings and papers, and
    8 good cause appearing,
    9        IT IS ORDERED that:
   10        1.     The Motion and the relief sought is granted;
   11        2.     Fees incurred by the Receiver and his professionals and billed to DLIF
   12 investor matters (the DLIF Fees) will be paid separately from Class 4A from DLIF’s
   13 claim distribution as set forth in this Order;
   14        3.     The Receiver’s fees in the amount of $35,040.00, are approved, and the
   15 Receiver is authorized to pay 80% of the approved fees ($28,032.00), with the
   16 balance of unpaid fees to be paid subject to further order of the Court. From that
   17 amount, the Receiver shall pay 80% ($2,352.00) of the Receiver’s DLIF Fees
   18 ($2,940.00) from Class 4A funds;
   19        4.     Fees of Raines Feldman, the Receiver’s general counsel, in the amount
   20 of $189,599.20, and $832.19 in costs, are approved and the Receiver is authorized to
   21 pay 80% of the approved fees ($151,679.36) and 100% of its approved costs, with
   22 the balance of the unpaid fees to be paid subject to further order of the Court. From
   23 that amount, the Receiver shall pay 80% ($477.67) of Raines Feldman’s DLIF Fees
   24 ($597.09) from Class 4A funds;
   25        5.     Fees of Diamond McCarthy LLP, the Receiver’s special litigation
   26 counsel, in the amount of $241,095.10, and costs in the amount of $5,290.67 are
   27 approved, and the Receiver is authorized to pay 80% of Diamond McCarthy’s
   28 approved fees ($192,876.08), and 100% of its approved costs, with the balance of

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    1 unpaid fees to be paid subject to further order of the Court.
    2         6.    Fees of Development Specialists, Inc. (DSI), the Receiver’s accountants
    3 and deputies, in the amount of $359,914.65, and costs in the amount of $1,344.69,
    4 are approved, and the Receiver is authorized to pay 80% of DSI’s approved fees
    5 ($287,931.72), and 100% of its approved costs, with the balance of unpaid fees to be
    6 paid subject to further order of the Court. From that amount, the Receiver shall pay
    7 80% ($26,144.64) of DSI’s DLIF Fees ($32,680.80) and 100% of DSI’s costs in the
    8 amount of $524.91, from Class 4A funds;
    9        7.     Fees of Goldberg Kohn Ltd., the Receiver’s corporate counsel, in the
   10 amount of $11,851.54 are approved, and the Receiver is authorized to pay 100% of
   11 Goldberg Kohn Ltd.’s approved fees;
   12        8.     Fees of Berkeley Research Group (BRG), the Receiver’s tax accountant,
   13 in the amount of $5,615.70, and costs in the amount of $8.48 are approved, and the
   14 Receiver is authorized to pay BRG 80% of its approved fees ($4,492.56), and 100%
   15 of its approved costs, with the balance of unpaid fees to be paid subject to further
   16 order of the Court;
   17         9.    Fees of Bankruptcy Management Solutions dba Stretto (Stretto), the
   18 Receiver’s claims agent, in the amount of $22,375.10 and costs in the amount of
   19 $2,541.03 are approved, and the Receiver is authorized to pay Stretto, 100% of its
   20 approved fees and 100% of its approved costs;
   21         10.   Fees of Jeffer Mangels Butler & Mitchell LLP, the Receiver’s special
   22 probate litigation counsel, in the amount of $859.00 are approved, and the Receiver
   23 is authorized to pay 100% of Jeffer Mangels Butler & Mitchell LLP’s approved
   24 fees and 100% of its approved costs;
   25         11.   The rate adjustments for the Receiver and his professionals for the
   26 calendar year 2022 are approved and authorized (Raines Feldman, DSI, and
   27 Goldberg Kohn Ltd.);
   28        12.    The form of notice on the Motion provided to interested parties,

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    1 creditors, and investors, who are potential creditors of the estate, by the Receiver (a)
    2 serving the Motion and related moving papers on all parties to the action; (b) serving
    3 by mail a notice of hearing on the Motion to all known creditors pursuant to Local
    4 Civil Rule 66-7; (c) posting a copy of the Motion on the Receiver’s website for the
    5 case at https://cases.stretto.com/dli; and (d) causing Bankruptcy Management
    6 Solutions dba Stretto to provide by email a copy of the notice of hearing on the
    7 Motion to all known investors through its email service regularly used to provide
    8 notices and documents to investors pursuant to the applicable governing documents
    9 for Direct Lending Income Fund, L.P. and Direct Lending Income Feeder Fund, Ltd.,
   10 is approved and deemed sufficient notice and opportunity for hearing on the Motion
   11 under the circumstances.
   12
   13         IT IS SO ORDERED.
   14
   15 DATED: June 22, 2022
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                                                  DALE S. FISCHER
   17                                             United States District Judge
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